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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                             :     Honorable Stanley R.              Chesler

                v.                                   :     Criminal No.       08-327

MARTIN TACCETTA                                      :     ORDER FOR DISMISSAL


                Under       Rule    48(a)       of       the    Federal     Rules      of     Criminal

Procedure and by leave of Court endorsed hereon,                                 Paul J.      Fishman,

the United States Attorney for the District of New Jersey,                                        hereby

dismisses Counts 5,             12 and 13 of the Indictment,                     Criminal No.          08-

327 (SRC),      against Martin Taccetta,                      which Indictment         was    filed on

May 2,    2008,       charging him with:             conspiracy to collect an extension

of   credit     by        extortionate        means      in    violation    of    18   U.S.C.         894;

conspiracy           to    demand       and   receive          unlawful     labor      payments         in

violation of 18 U.S.C.              § 371;      and demanding and receiving unlawful

labor payments             in violation of           29 U.S.C.      §    186(a) (2),        (b) (1)   and

(d) (2)   and     18      U.S.C.    §    2,   because          further   prosecution         of   these

charges is not in the interests of the United States at this time.

              This dismissal is without prejudice.

                                                          r.


                                                          PAUL J. FISHMAN
                                                          United States Attorney

              Leave of Court is granted for the filing of the

foregoing distrissal




Date:                                             ONORABLE STANLEY R. CHESLER
                                                    United States District Judge
